                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                             Case No. 20-cv-00954

 Farhad Azima,

                        Plaintiff,
                v.

 Nicholas Del Rosso and
 Vital Management Services, Inc.,

                        Defendants.



             LR 5.5 REPORT FOR THE FILING OF SEALED DOCUMENTS

[_X_] Conference: The parties have discussed the issues of confidentiality raised in this case and

the potential need for filing documents under seal. That discussion included the nature of any

confidential documents that may be involved in the case, the possibility of using stipulations to

avoid the need to file certain documents, and the possibility of agreed-upon redactions of

immaterial confidential information in filings to avoid the need for filing documents under seal.

[__] Non-Parties: Because a non-party has produced documents pursuant to a protective order or

is otherwise claiming confidentiality over documents filed or expected to be filed in this case, the

conference included ___________________________ (identify non-party).

[__] Default: The parties certify that few, if any, documents will be filed under seal. The parties

agree to use the default procedures of LR 5.4(c). In addition, if the party filing the motion to seal

is not the party claiming confidentiality, the filing party must meet and confer with the party

claiming confidentiality as soon as practicable, but at least two (2) days before filing the

documents, to discuss narrowing the claim of confidentiality. The motion to seal must certify that

the required conference has occurred, and the party claiming confidentiality must file supporting

materials required by LR 5.4(c)(3) within 14 days of the motion to seal.



       Case 1:20-cv-00954-WO-JLW Document 92 Filed 11/10/22 Page 1 of 4
[_X_] Alternative Proposal for Cases with Many Confidential Documents. In order to address

claims of confidentiality and reduce the need to file briefs and exhibits under seal, the parties

propose the alternative procedure set out in the below proposal, either jointly or as competing

alternatives, for consideration by the Court:

               The default procedures under LR 5.5(c) shall apply with the following additions

       and amendments.

               The parties recognize that “[s]ealed documents should not be filed unless necessary

       for determination of the matter before the Court. If only non-confidential portions of a

       document are necessary, only those portions should be filed, immaterial portions should be

       redacted, and no motion to seal should be filed.” LR 5.4(a)(3).

               Accordingly, if the party seeking to file the materials is not the party claiming

       confidentiality, or is not claiming it as to all of the items, then at least 2 business days

       before seeking to file under seal a document containing information previously designated

       as confidential by another pursuant to a protective order, the filing party must confer with

       the person that designated the material confidential in an attempt to eliminate or minimize

       the need for filing under seal. During the conferral, the parties must explore all alternatives

       to filing a document under seal, including stipulations, redactions, deleting unnecessary

       pages and other steps to eliminate the need to file under seal or to at least minimize the

       amount of sealed information.

[__] Other relevant information: _______________________________




       Case 1:20-cv-00954-WO-JLW Document 92 Filed 11/10/22 Page 2 of 4
Respectfully submitted on this, the 10th day of November, 2022.

                                 WOMBLE BOND DICKINSON (US) LLP

                                 /s/ Ripley Rand
                                 Ripley Rand
                                 North Carolina Bar No. 22275
                                 Christopher W. Jones
                                 North Carolina Bar No. 27625
                                 Jonathon Townsend
                                 North Carolina Bar No. 51751
                                 555 Fayetteville Street, Suite 1100
                                 Raleigh, North Carolina 27601
                                 Phone: 919-755-2100
                                 Fax: 919-755-2150
                                 Email: ripley.rand@wbd-us.com
                                         chris.jones@wbd-us.com
                                         jonathon.townsend@wbd-us.com

                                 MILLER & CHEVALIER CHARTERED


                                 /s/ Kirby D. Behre
                                 Kirby D. Behre (pro hac vice)
                                 Tim O’Toole (pro hac vice)
                                 Ian Herbert (pro hac vice)
                                 Calvin Lee (pro hac vice)
                                 900 16th Street, NW
                                 Washington, D.C. 20006
                                 Telephone: (202) 626-5800
                                 Fax: (202) 626-5801
                                 Email: kbehre@milchev.com

                                 Counsel for Plaintiff




Case 1:20-cv-00954-WO-JLW Document 92 Filed 11/10/22 Page 3 of 4
                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                            CASE NO. 20-CV-954

FARHAD AZIMA,

       Plaintiff,

       v.
                                                   CERTIFICATE OF SERVICE
NICHOLAS DEL ROSSO and VITAL
MANAGEMENT SERVICES, INC.,

       Defendants.


       I hereby certify that I electronically filed the foregoing with the Clerk of Court using
the CM/ECF system, which will send electronic notification of this Notice to the following
attorneys:
       Brandon S. Neuman, Esq.
       Jeffrey M. Kelly, Esq.
       Nathaniel J. Pencook, Esq.
       GlenLake One
       4140 Parklake Avenue - Suite 200
       Raleigh, NC 27612
       brandon.neuman@nelsonmullins.com
       jeff.kelly@nelsonmullins.com
       nate.pencook@nelsonmullins.com
       Telephone: 919.329.3800
       Facsimile: 919.329.3799

       This, the 10th day of November, 2022.

                                           WOMBLE BOND DICKINSON (US) LLP

                                           /s/ Ripley Rand
                                           Ripley Rand
                                           North Carolina State Bar No. 22275
                                           555 Fayetteville Street, Suite 1100
                                           Raleigh, NC 27601
                                           Telephone:     (919) 755-8125
                                           Facsimile:     (919) 755-6752
                                           Email:         Ripley.Rand@wbd-us.com

                                           Counsel for Plaintiff


      Case 1:20-cv-00954-WO-JLW Document 92 Filed 11/10/22 Page 4 of 4
